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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

 THE RELIGIOUS SISTERS OF
 MERCY, et al.,

                          Plaintiffs,
                                                 No. 3:16-cv-386
                     v.
                                                 ORDER FOR AMENDED FINAL
 XAVIER BECERRA, Secretary of the                JUDGMENT AS TO CBA
 United States Department of Health and          PLAINTIFFS
 Human Service, et al.,

                          Defendants.


 CATHOLIC BENEFITS
 ASSOCIATION, et al.

                          Plaintiffs,

                     v.                           No. 3:16-cv-432

 XAVIER BECERRA, Secretary of the
 United States Department of Health and
 Human Service, et al.,

                          Defendants.


       The Court by previous order granted Plaintiffs’ motions for summary judgment in part,

entering a permanent injunction against Defendants, and granted Defendants’ motion to dismiss in

part. Doc. 124. This final judgment applies only to the “CBA Plaintiffs” (collectively, Catholic

Benefits Association (“CBA”), Diocese of Fargo, Catholic Charities North Dakota, and Catholic

Medical Association). It does not affect any prior orders or judgment regarding the RSM Plaintiffs

(collectively, Religious Sisters of Mercy Health Care (Alma, MI), SMP Health System, University

of Mary) or regarding the State of North Dakota. Pursuant to the Eighth Circuit’s opinion in this

case, the Court dismissed without prejudice the CBA’s claims based on associational standing on

behalf of its unnamed members. Doc. 169. In accordance with those orders, and in light of the


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dismissal of all claims not previously resolved in the Court’s order, the Court directs the Clerk of

Court to enter the following final judgment as to the CBA Plaintiffs:

       JUDGMENT IS ENTERED in favor of the CBA Plaintiffs as to their claims under the

Religious Freedom Restoration Act (“RFRA”) challenging the interpretations of Section 1557 and

Title VII that require the CBA Plaintiffs to perform and provide insurance coverage for gender-

transition procedures.

       The Court DECLARES that Defendant, the U.S. Department of Health & Human

Services’ (“HHS”), interpretation of Section 1557 that requires the CBA Plaintiffs to perform and

provide insurance coverage for gender-transition procedures* violates their sincerely held religious

beliefs without satisfying strict scrutiny under the RFRA. Accordingly, the Court

PERMANENTLY ENJOINS AND RESTRAINS HHS, Secretary Becerra, their divisions,

bureaus, agents, officers, commissioners, employees, and anyone acting in concert or participation

with them, including their successors in office, from interpreting or enforcing Section 1557 of the

Affordable Care Act, 42 U.S.C. § 18116(a), or any implementing regulations thereto against the

CBA Plaintiffs in a manner that would require them to perform or provide insurance coverage for

gender-transition procedures, including by denying federal financial assistance because of their

failure to perform or provide insurance coverage for such procedures or by otherwise pursuing,

charging, or assessing any penalties, fines, assessments, investigations, or other enforcement

actions.

       The Court further DECLARES that Defendant the Equal Employment Opportunity

Commission’s (“EEOC”) interpretation of Title VII that requires the CBA Plaintiffs to provide

insurance coverage for gender-transition procedures violates their sincerely held religious beliefs

without satisfying strict scrutiny under the RFRA. Accordingly, the Court PERMANENTLY

ENJOINS AND RESTRAINS the EEOC, Chair Burrows, their divisions, bureaus, agents,

officers, commissioners, employees, and anyone acting in concert or participation with them,

*
 As used in this judgment, the term “gender-transition procedures” includes surgery, counseling,
provision of pharmaceuticals, or other treatments sought in furtherance of a gender transition.
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including their successors in office, from interpreting or enforcing Title VII of the Civil Rights

Act of 1964, 42 U.S.C. § 2000e et seq., or any implementing regulations thereto against the CBA

Plaintiffs in a manner that would require them to provide insurance coverage for gender-transition

procedures, including by denying federal financial assistance because of their failure to provide

insurance coverage for such procedures or by otherwise pursuing, charging, or assessing any

penalties, fines, assessments, investigations, or other enforcement actions.

        The relief provided in this order shall be restricted to the CBA Plaintiffs, anyone acting in

concert or participation with them, and their respective health plans and any insurers or third-party

administrators in connection with such health plans.

        Neither HHS nor EEOC violates this order by taking any of the above-described actions

against anyone acting in concert or participation with a CBA Plaintiff, or a CBA Plaintiff’s health

plans and any insurers or TPAs in connection with such health plans, if the agency officials directly

responsible for taking these actions are unaware of that entity’s relevant relationship to a CBA

Plaintiff.

        However, if either agency, unaware of an entity’s relevant relationship to a CBA Plaintiff,

takes any of the above-described actions, the relevant CBA Plaintiff may promptly notify a directly

responsible agency official of the fact of the entity’s relevant relationship to a CBA Plaintiff and

its protection under this order. Once such an official receives such notice from the CBA Plaintiff

the agency shall promptly comply with this order with respect to such related entity.

        Nothing in this Order shall prevent EEOC from:

        (1)    taking any action in connection with the acceptance of a charge for filing

        regardless of the source, including receiving an online inquiry via the agency’s Public

        Portal or requesting or receiving a questionnaire or other correspondence from the

        charging party, when the charge concerns an allegation against a CBA Plaintiff

        concerning the exclusion of gender-transition procedures from its insurance coverage;




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       (2)     accepting a charge alleging that a CBA Plaintiff does not provide insurance

       coverage for gender-transition procedures, and from entering the charge into EEOC’s

       computer systems;

       (3)     serving notice of the charge upon a CBA Plaintiff within ten days as required by

       42 U.S.C. § 2000e-5(b); or

       (4)     issuing a right-to-sue notice to a charging party who has filed a charge against a

       CBA Plaintiff concerning the exclusion of gender-transition procedures from its

       insurance plan in accordance with the requirements and procedures set forth in 42 U.S.C.

       § 2000e-5(b) & (f)(1) and 29 C.F.R. § 1601.28(a)(1) & (2).

       It is hereby ORDERED that any motion for attorneys’ fees and expenses filed by any

prevailing Plaintiff shall be filed within 60 days after the entry of this judgment.

       IT IS SO ORDERED.

       LET JUDGMENT BE ENTERED ACCORDINGLY.

       Dated this 11th day of October, 2023.


                                                              _/s/ Peter D. Welte_______________
                                                              Peter D. Welte, Chief Judge
                                                              United States District Court




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